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Case 4:21-cr-06028-MKD ECF No. 158 file

UNITED STATES DIS

FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,
V.

IGNACIO GARAY ORNELAS (a/k/a
“Junior”),

 

Defendant.

IT IS HEREBY ORDERED that the Indictment is sealed until further order
of the Court or until the Defendant’s arrest, whichever comes first.

DATED this 5 f day of March 2022.

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es\A. Goeke
United |States Magistrate Judge

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FILED IN THE

U.S. DISTRICT Cou
EASTERN DISTRICT OF WASHINGTON

MAR 0 1 2022

SEAN F. McAVOy, CLERK

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SPOKANE, WASHINGTON UY

TRICT COURT

Case No.: 4:21-cr-06028-MKD-10

Order To Seal Indictment

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